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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                  BRIDGEPORT DIVISION

                                                      :
    In re                                             :   (Chapter 7)
                                                      :
     THE NASH ENGINEERING COMPANY,                    :   CASE NO. 21-50644-JAM
                                                      :
                        Debtor.                       :   SEPTEMBER 13, 2023
                                                      :
                                                      :

              AMENDED CREDITOR LIST OF PERSONAL INJURY CLAIMANTS
                          (Updated through September 8, 2023)

            Pursuant to the Order Granting in Part Motion for Order to Establish Procedures for

Service Upon Personal Injury Claimants entered on August 11, 2023 [ECF No. 244] (the

“Service Procedures Order”) and the Order Supplementing the Service Procedures Order entered

on September 12, 2023 [ECF No. 258], appended hereto is an Amended Creditor List of

addresses received by the Trustee of personal injury claimants for whom a proper service address

has been established in accordance with the Service Procedures Order as of the close of business

on September 8, 2023.1 Because there can be a short gap between the time the Trustee receives

an updated address and the time that such information is reflected in an Amended Creditor List,

the Trustee invites any party in interest who intends to serve a notice or pleading on asbestos

personal injury claimants to contact his counsel concerning whether any new information has

been received since the attached Amended Creditor List was compiled. In addition, at the

request of any party in interest, the Trustee’s counsel will make the Amended Creditor List

available to such party in electronic form to facilitate service.


1
  For the convenience of the Court and parties-in-interest, appended to the Amended Creditor
List is a separate list consisting primarily of non-personal injury creditors (such as defense
counsel to the Debtor) who have filed proofs of claim or are listed on the Debtor’s schedules.


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                               Respectfully submitted,

                               GEORGE I. ROUMELIOTIS, CHAPTER 7 TRUSTEE
                               By his counsel,

                               __/s/ Taruna Garg_________________________
                               Daniel C. Cohn, Esq. (pro hac vice admitted)
                               Taruna Garg, Esq. (ct28652)
                               Murtha Cullina LLP
                               107 Elm Street
                               Stamford, CT 06902
                               Telephone: (203) 653-5400
                               dcohn@murthalaw.com
                               tgarg@murthalaw.com




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                                                PERSONAL INJURY CLAIMANTS
Akin, Dudley D.                                 Allen, Richard                              Atkinson, Steven, Ex'r of the Est. of
Courtney Gregory, Esq.                          Michael C. Shepard, Esq.                    Atkinson, James, F.
The Gori Law Firm                               Shepard O'Donnell                           Benjamin P. Shein, Esq.
156 N. Main Street                              160 Federal St 13th Flr.                    Shein Law Center
Edwardsville, IL 62025                          Boston, MA 02110                            121 S. Broad St., 21st Flr.
                                                                                            Philadelphia, PA 19107

Baehr, Joseph                                   Barthelmess, Richard                        Batch, Carol as Ex'x for the Est. of Batch,
Justine Delaney, Esq.                           Justine Delaney, Esq.                       Gary and Batch, Carol
Weitz & Luxenberg                               Weitz & Luxenberg                           Ethan Early, Esq.
700 Broadway                                    700 Broadway                                Early, Lucarelli, Sweeney & Meisenko
New York, NY 10003                              New York, NY 10003                          360 Lexington Ave, 20th Flr.
                                                                                            New York, NY 10017

Beaubien, Thomas                                Beauchamp, Jerome E                         Becton, James
Courtney Gregory, Esq.                          Courtney Gregory, Esq.                      Courtney Gregory, Esq.
The Gori Law Firm                               The Gori Law Firm                           The Gori Law Firm
156 N. Main St.                                 156 N. Main Street                          156 N. Main St.
Edwardsville, IL 62025                          Edwardsville, IL 62025                      Edwardsville, IL 62025


Beerman, Henry                                  Bell, Larry J.                              Bellino, Susanna
Michael C. Shepard, Esq.                        Cary Sandler, Esq.                          Michael C. Shepard, Esq.
Shepard O'Donnell                               Brookman, Rosenberg, Brown & Sandler        Shepard O'Donnell
160 Federal St 13th Flr.                        30 S. 15th Street, Ste. 802                 160 Federal St 13th Flr.
Boston, MA 02110                                Philadelphia, PA 19102                      Boston, MA 02110


Bennett, Joseph P., Admin. of the Est. of       Blackburn, Margaret Ind. and as Adm'x for   Blake, John
Bennett, David                                  Est. of Blackburn, Robert W.                Michael C. Shepard, Esq.
Cary Sandler, Esq.                              Ethan Early, Esq.                           Shepard O'Donnell
Brookman, Rosenberg, Brown & Sandler            Early, Lucarelli, Sweeney & Meisenko        160 Federal St 13th Flr.
30 S. 15th Street, Ste. 802                     360 Lexington Ave, 20th Flr.                Boston, MA 02110
Philadelphia, PA 19102                          New York, NY 10017

Bleau, Robert                                   Boehler, Duane H.                           Boynton, M. Aaron
Michael C. Shepard, Esq.                        Courtney Gregory, Esq.                      Robert Paul, Esq.
Shepard O'Donnell                               The Gori Law Firm                           Paul, Reich & Myers, P.C.
160 Federal St 13th Flr.                        156 N. Main St.                             1608 Walnut Street, Ste. 500
Boston, MA 02110                                Edwardsville, IL 62025                      Philadelphia, PA 19103


Briscoe, Billy Jason                            Brooks, Lionel                              Bruchhauser, Anton
Justine Delaney, Esq.                           Cary Sandler, Esq.                          Justine Delaney, Esq.
Weitz & Luxenberg                               Brookman, Rosenberg, Brown & Sandler        Weitz & Luxenberg
700 Broadway                                    30 S. 15th Street, Ste. 802                 700 Broadway
New York, NY 10003                              Philadelphia, PA 19102                      New York, NY 10003


Brummett, Richard                               Burke, John                                 Burke, Stephen E.
Stephen Wood, Esq.                              Michael C. Shepard, Esq.                    Justine Delaney, Esq.
Wylder Corwin Kelly LLP                         Shepard O'Donnell                           Weitz & Luxenberg
207 E. Washington St., Ste. 102                 160 Federal St 13th Flr.                    700 Broadway
Bloomington, IL 61701                           Boston, MA 02110                            New York, NY 10003


Burrell, Kenneth                                Bursmith, William and Judith                Bush, Lawrence P.
Michael C. Shepard, Esq.                        Ethan Early, Esq.                           Courtney Gregory, Esq.
Shepard O'Donnell                               Early, Lucarelli, Sweeney & Meisenko        The Gori Law Firm
160 Federal St 13th Flr.                        360 Lexington Ave, 20th Flr.                156 N. Main St.
Boston, MA 02110                                New York, NY 10017                          Edwardsville, IL 62025


Buuck, Donald                                   Chadd, Jimmie                               Chamberlain, Paul
Justine Delaney, Esq.                           Justine Delaney, Esq.                       Michael C. Shepard, Esq.
Weitz & Luxenberg                               Weitz & Luxenberg                           Shepard O'Donnell
700 Broadway                                    700 Broadway                                160 Federal St 13th Flr.
New York, NY 10003                              New York, NY 10003                          Boston, MA 02110
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                                                    PERSONAL INJURY CLAIMANTS
Cochran, Thomas                                     Comforti, Angelo and Phyllis             Connelly, Michael
Courtney Gregory, Esq.                              Ethan Early, Esq.                        Justine Delaney, Esq.
The Gori Law Firm                                   Early, Lucarelli, Sweeney & Meisenko     Weitz & Luxenberg
156 N. Main St.                                     360 Lexington Ave, 20th Flr.             700 Broadway
Edwardsville, IL 62025                              New York, NY 10017                       New York, NY 10003


Contonio, Peter                                     Cote, Richard A.                         Cupp, James
Michael C. Shepard, Esq.                            Justine Delaney, Esq.                    Michael C. Shepard, Esq.
Shepard O'Donnell                                   Weitz & Luxenberg                        Shepard O'Donnell
160 Federal St 13th Flr.                            700 Broadway                             160 Federal St 13th Flr.
Boston, MA 02110                                    New York, NY 10003                       Boston, MA 02110


Curtin, Lawrence                                    DeLeo, John                              DeLeo, John
Michael C. Shepard, Esq.                            Michael C. Shepard, Esq.                 Michael C. Shepard, Esq.
Shepard O'Donnell                                   Shepard O'Donnell                        Shepard O'Donnell
160 Federal St 13th Flr.                            160 Federal St 13th Flr.                 160 Federal St 13th Flr.
Boston, MA 02110                                    Boston, MA 02110                         Boston, MA 02110


Deni, John                                          Dickson, Jonas                           DiGeronimo, Ralph
Cary Sandler, Esq.                                  Justine Delaney, Esq.                    Michael C. Shepard, Esq.
Brookman, Rosenberg, Brown & Sandler                Weitz & Luxenberg                        Shepard O'Donnell
30 S. 15th Street, Ste. 802                         700 Broadway                             160 Federal St 13th Flr.
Philadelphia, PA 19102                              New York, NY 10003                       Boston, MA 02110


DiGeronimo, Ralph                                   Dion, John                               DiStefano, Anthony
Michael C. Shepard, Esq.                            Michael C. Shepard, Esq.                 Cary Sandler, Esq.
Shepard O'Donnell                                   Shepard O'Donnell                        Brookman, Rosenberg, Brown & Sandler
160 Federal St 13th Flr.                            160 Federal St 13th Flr.                 30 S. 15th Street, Ste. 802
Boston, MA 02110                                    Boston, MA 02110                         Philadelphia, PA 19102


Dixon, Towanna, Admin. of the Est. of Dixon,        Donohue, David P.                        Donovan, Harry
Franklin                                            Justine Delaney, Esq.                    Cary Sandler, Esq.
Cary Sandler, Esq.                                  Weitz & Luxenberg                        Brookman, Rosenberg, Brown & Sandler
Brookman, Rosenberg, Brown & Sandler                700 Broadway                             30 S. 15th Street, Ste. 802
30 S. 15th Street, Ste. 802                         New York, NY 10003                       Philadelphia, PA 19102
Philadelphia, PA 19102

Dority, Bonnie, K. Ind. & Pers. Rep. for the Est.   Doskocil, Douglas                        Edwards, Timothy G.
of Dority, David A.                                 Michael C. Shepard, Esq.                 Courtney Gregory, Esq.
Ethan Early, Esq.                                   Shepard O'Donnell                        The Gori Law Firm
Early, Lucarelli, Sweeney & Meisenko                160 Federal St 13th Flr.                 156 N. Main St.
360 Lexington Ave, 20th Flr.                        Boston, MA 02110                         Edwardsville, IL 62025
New York, NY 10017

Eliopoulos, Theano                                  Ernst, Melvin E.                         Fahlbeck, Robert
Michael C. Shepard, Esq.                            Courtney Gregory, Esq.                   Michael C. Shepard, Esq.
Shepard O'Donnell                                   The Gori Law Firm                        Shepard O'Donnell
160 Federal St 13th Flr.                            156 N. Main St.                          160 Federal St 13th Flr.
Boston, MA 02110                                    Edwardsville, IL 62025                   Boston, MA 02110


Faulds, Dale T., Jr.                                Flanders, Blaine                         Fleming, Donald
Justine Delaney, Esq.                               Cary Sandler, Esq.                       Michael C. Shepard, Esq.
Weitz & Luxenberg                                   Brookman, Rosenberg, Brown & Sandler     Shepard O'Donnell
700 Broadway                                        30 S. 15th Street, Ste. 802              160 Federal St 13th Flr.
New York, NY 10003                                  Philadelphia, PA 19102                   Boston, MA 02110


Flippo, Penny                                       Flores, Louis                            Formica, Charles
Justine Delaney, Esq.                               Courtney Gregory, Esq.                   Robert Paul, Esq.
Weitz & Luxenberg                                   The Gori Law Firm                        Paul, Reich & Myers, P.C.
700 Broadway                                        156 N. Main St.                          1608 Walnut Street, Ste. 500
New York, NY 10003                                  Edwardsville, IL 62025                   Philadelphia, PA 19103
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                                                    PERSONAL INJURY CLAIMANTS
Fournier, Henry                                     French, Donald                               Fried, Margaret
Michael C. Shepard, Esq.                            Michael C. Shepard, Esq.                     Justine Delaney, Esq.
Shepard O'Donnell                                   Shepard O'Donnell                            Weitz & Luxenberg
160 Federal St 13th Flr.                            160 Federal St 13th Flr.                     700 Broadway
Boston, MA 02110                                    Boston, MA 02110                             New York, NY 10003


Fulmer, Ruth A., Admin. of the Est. of Fulmer,      Galotti, Nicholas                            Gaudet, Robert
Wayne                                               Michael C. Shepard, Esq.                     Michael C. Shepard, Esq.
Cary Sandler, Esq.                                  Shepard O'Donnell                            Shepard O'Donnell
Brookman, Rosenberg, Brown & Sandler                160 Federal St 13th Flr.                     160 Federal St 13th Flr.
30 S. 15th Street, Ste. 802                         Boston, MA 02110                             Boston, MA 02110
Philadelphia, PA 19102

Germain Jr., Fred A.                                Gibson, Douglas B.                           Gifford, Henry
Courtney Gregory, Esq.                              Justine Delaney, Esq.                        Michael C. Shepard, Esq.
The Gori Law Firm                                   Weitz & Luxenberg                            Shepard O'Donnell
156 N. Main St.                                     700 Broadway                                 160 Federal St 13th Flr.
Edwardsville, IL 62025                              New York, NY 10003                           Boston, MA 02110


Giuliano, Anthony J.                                Gorman, Dorothy, Exec. of the Est. of        Gowac, Valerie as Ex'x of the Est. of
Justine Delaney, Esq.                               Gorman, James                                Gilson, Ralph and Gilson, Marlene as SVV SP
Weitz & Luxenberg                                   Cary Sandler, Esq.                           Ethan Early, Esq.
700 Broadway                                        Brookman, Rosenberg, Brown & Sandler         Early, Lucarelli, Sweeney & Meisenko
New York, NY 10003                                  30 S. 15th Street, Ste. 802                  360 Lexington Ave, 20th Flr.
                                                    Philadelphia, PA 19102                       New York, NY 10017

Groef Vander, Christian                             Guerrette, Jr., Alphonse                     Gulczewski, Valerian J., Jr.
Courtney Gregory, Esq.                              Michael C. Shepard, Esq.                     Justine Delaney, Esq.
The Gori Law Firm                                   Shepard O'Donnell                            Weitz & Luxenberg
156 N. Main St.                                     160 Federal St 13th Flr.                     700 Broadway
Edwardsville, IL 62025                              Boston, MA 02110                             New York, NY 10003


Handfield, Charlotte, Exec. of the Est. of Tighe,   Handfield, Charlotte, Exec. of the Est. of   Haney, Williams, Susan, Rep. of the Est. of
Bernard                                             Tighe, Patricia                              Williams, John. S
Cary Sandler, Esq.                                  Cary Sandler, Esq.                           Cary Sandler, Esq.
Brookman, Rosenberg, Brown & Sandler                Brookman, Rosenberg, Brown & Sandler         Brookman, Rosenberg, Brown & Sandler
30 S. 15th Street, Ste. 802                         30 S. 15th Street, Ste. 802                  30 S. 15th Street, Ste. 802
Philadelphia, PA 19102                              Philadelphia, PA 19102                       Philadelphia, PA 19102

Hankey, Robert C., Exec. of the Est. of             Hardy, Joe L.                                Harkreader, Donald L.
Hankey, Robert, D.                                  Courtney Gregory, Esq.                       Courtney Gregory, Esq.
Cary Sandler, Esq.                                  The Gori Law Firm                            The Gori Law Firm
Brookman, Rosenberg, Brown & Sandler                156 N. Main St.                              156 N. Main St.
30 S. 15th Street, Ste. 802                         Edwardsville, IL 62025                       Edwardsville, IL 62025
Philadelphia, PA 19102

Harrington, Eleanor, Exec. of the Est. of           Harris, Terry                                Harwell, Robert A.
Harrington, Walter                                  Justine Delaney, Esq.                        Justine Delaney, Esq.
Cary Sandler, Esq.                                  Weitz & Luxenberg                            Weitz & Luxenberg
Brookman, Rosenberg, Brown & Sandler                700 Broadway                                 700 Broadway
30 S. 15th Street, Ste. 802                         New York, NY 10003                           New York, NY 10003
Philadelphia, PA 19102

Healey, James                                       Heaton, Stanley                              Hefter, George
Michael C. Shepard, Esq.                            Michael C. Shepard, Esq.                     Ethan Early, Esq.
Shepard O'Donnell                                   Shepard O'Donnell                            Early, Lucarelli, Sweeney & Meisenko
160 Federal St 13th Flr.                            160 Federal St 13th Flr.                     360 Lexington Ave, 20th Flr.
Boston, MA 02110                                    Boston, MA 02110                             New York, NY 10017


Hegler, Jean                                        Henni, Gladys Charlene, Pers. Rep. of        Herrick, John
Justine Delaney, Esq.                               Est. of Henni, Carl                          Michael C. Shepard, Esq.
Weitz & Luxenberg                                   Eric B. Abramson, Esq.                       Shepard O'Donnell
700 Broadway                                        Serling & Abramson, P.C.                     160 Federal St 13th Flr.
New York, NY 10003                                  280 North Old Woodward Ave, Ste 406          Boston, MA 02110
                                                    Birmingham, MI 48009
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                                               PERSONAL INJURY CLAIMANTS
Hickey, Richard                                Hobbs, William                             Hockenberry, John W., III
Michael C. Shepard, Esq.                       Michael C. Shepard, Esq.                   Justine Delaney, Esq.
Shepard O'Donnell                              Shepard O'Donnell                          Weitz & Luxenberg
160 Federal St 13th Flr.                       160 Federal St 13th Flr.                   700 Broadway
Boston, MA 02110                               Boston, MA 02110                           New York, NY 10003


Hofmann, Marlene, Pers. Rep. of Est. of        Holczer, John D.                           Hollingsworth, Willie
Hofmann, Joseph Michael                        Robert Paul, Esq.                          Justine Delaney, Esq.
Eric B. Abramson, Esq.                         Paul, Reich & Myers, P.C.                  Weitz & Luxenberg
Serling & Abramson, P.C.                       1608 Walnut Street, Ste. 500               700 Broadway
280 North Old Woodward Ave, Ste 406            Philadelphia, PA 19103                     New York, NY 10003
Birmingham, MI 48009

Howard, Richard                                Hughes, Mary C., Admin. of the Est. of     Hunt, James
Michael C. Shepard, Esq.                       Hughes, Robert                             Michael C. Shepard, Esq.
Shepard O'Donnell                              Cary Sandler, Esq.                         Shepard O'Donnell
160 Federal St                                 Brookman, Rosenberg, Brown & Sandler       160 Federal St 13th Flr.
Boston, MA 02110                               30 S. 15th Street, Ste. 802                Boston, MA 02110
                                               Philadelphia, PA 19102

Hunter, Richard                                Huster, Susanne, T. Exec. of the Est. of   Huyard, James
Courtney Gregory, Esq.                         Pufko, Michael                             Cary Sandler, Esq.
The Gori Law Firm                              Cary Sandler, Esq.                         Brookman, Rosenberg, Brown & Sandler
156 N. Main St.                                Brookman, Rosenberg, Brown & Sandler       30 S. 15th Street, Ste. 802
Edwardsville, IL 62025                         30 S. 15th Street, Ste. 802                Philadelphia, PA 19102
                                               Philadelphia, PA 19102

Jackson, Steven                                Jacobs, Lloyd J.                           Jasionis, Michael
Stephen Wood, Esq.                             Courtney Gregory, Esq.                     Cary Sandler, Esq.
Wylder Corwin Kelly LLP                        The Gori Law Firm                          Brookman, Rosenberg, Brown & Sandler
207 E. Washington St., Ste. 102                156 N. Main St.                            30 S. 15th Street, Ste. 802
Bloomington, IL 61701                          Edwardsville, IL 62025                     Philadelphia, PA 19102


Johnson, Ellen Beverly                         Jordan, Alfred                             Kaiser, George
Michael C. Shepard, Esq.                       Courtney Gregory, Esq.                     Justine Delaney, Esq.
Shepard O'Donnell                              The Gori Law Firm                          Weitz & Luxenberg
160 Federal St 13th Flr.                       156 N. Main St.                            700 Broadway
Boston, MA 02110                               Edwardsville, IL 62025                     New York, NY 10003


Karbowski, Charles                             Keleher, Robert                            Kelsey, Maureen, Pers. Rep. of Est. of Flynn,
Courtney Gregory, Esq.                         Cary Sandler, Esq.                         John F.
The Gori Law Firm                              Brookman, Rosenberg, Brown & Sandler       Ethan Early, Esq.
156 N. Main St.                                30 S. 15th Street, Ste. 802                Early, Lucarelli, Sweeney & Meisenko
Edwardsville, IL 62025                         Philadelphia, PA 19102                     360 Lexington Ave, 20th Flr.
                                                                                          New York, NY 10017

Kermon-Mazzone, Nancy, Exec. of the Est. of    Kilburg, Michael, Pers. Rep. of Est. of    Kilker, John
Kermon, Robert                                 Kilburg, Cheryl                            Courtney Gregory, Esq.
Cary Sandler, Esq.                             Eric B. Abramson, Esq.                     The Gori Law Firm
Brookman, Rosenberg, Brown & Sandler           Serling & Abramson, P.C.                   156 N. Main St.
30 S. 15th Street, Ste. 802                    280 North Old Woodward Ave, Ste 406        Edwardsville, IL 62025
Philadelphia, PA 19102                         Birmingham, MI 48009

Kletschka, Ricky R.                            Knight, Wallace                            Knox, Thomas
Courtney Gregory, Esq.                         Michael C. Shepard, Esq.                   Michael C. Shepard, Esq.
The Gori Law Firm                              Shepard O'Donnell                          Shepard O'Donnell
156 N. Main St.                                160 Federal St 13th Flr.                   160 Federal St 13th Flr.
Edwardsville, IL 62025                         Boston, MA 02110                           Boston, MA 02110


Knuppe, Keith J.                               Korpak, Michael                            Kowal, Joseph
Courtney Gregory, Esq.                         Michael C. Shepard, Esq.                   Michael C. Shepard, Esq.
The Gori Law Firm                              Shepard O'Donnell                          Shepard O'Donnell
156 N. Main St.                                160 Federal St 13th Flr.                   160 Federal St 13th Flr.
Edwardsville, IL 62025                         Boston, MA 02110                           Boston, MA 02110
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                                            PERSONAL INJURY CLAIMANTS
Kuc, William                                Kwiatkowski, Richard                            Learmond, Thomas
Michael C. Shepard, Esq.                    Michael C. Shepard, Esq.                        Justine Delaney, Esq.
Shepard O'Donnell                           Shepard O'Donnell                               Weitz & Luxenberg
160 Federal St 13th Flr.                    160 Federal St 13th Flr.                        700 Broadway
Boston, MA 02110                            Boston, MA 02110                                New York, NY 10003


Lewis, Theresa                              Littlefield, Joan Marie, Exec. Of the Est. of   Locher, Robert G., Pers. Rep. Est. of Locher,
Justine Delaney, Esq.                       Littlefield, Jerome                             Robert S.
Weitz & Luxenberg                           Cary Sandler, Esq.                              Eric B. Abramson, Esq.
700 Broadway                                Brookman, Rosenberg, Brown & Sandler            Serling & Abramson, P.C.
New York, NY 10003                          30 S. 15th Street, Ste. 802                     280 North Old Woodward Ave, Ste 406
                                            Philadelphia, PA 19102                          Birmingham, MI 48009

Long, Mark                                  Long, Melva Elaine                              Lorica, Romeo A.
Michael C. Shepard, Esq.                    Courtney Gregory, Esq.                          Courtney Gregory, Esq.
Shepard O'Donnell                           The Gori Law Firm                               The Gori Law Firm
160 Federal St 13th Flr.                    156 N. Main St.                                 156 N. Main St.
Boston, MA 02110                            Edwardsville, IL 62025                          Edwardsville, IL 62025


Lowery, Doyle R.                            Ludford, William H.                             Mack, Russell K.
Courtney Gregory, Esq.                      Courtney Gregory, Esq.                          Courtney Gregory, Esq.
The Gori Law Firm                           The Gori Law Firm                               The Gori Law Firm
156 N. Main St.                             156 N. Main St.                                 156 N. Main St.
Edwardsville, IL 62025                      Edwardsville, IL 62025                          Edwardsville, IL 62025


MacMurray, Rita                             Mason, John E., Jr.                             Mayes, James L.
Michael C. Shepard, Esq.                    David J Butler, Esq.                            Courtney Gregory, Esq.
Shepard O'Donnell                           Rogers Patrick Westbrook & Brickman             The Gori Law Firm
160 Federal St 13th Flr.                    P.O. Box 3088                                   156 N. Main St.
Boston, MA 02110                            Aiken, SC 29804                                 Edwardsville, IL 62025


McCauley, Owen                              McGee, Gary                                     McHenry, Robert
Michael C. Shepard, Esq.                    Michael C. Shepard, Esq.                        Cary Sandler, Esq.
Shepard O'Donnell                           Shepard O'Donnell                               Brookman, Rosenberg, Brown & Sandler
160 Federal St 13th Flr.                    160 Federal St 13th Flr.                        30 S. 15th Street, Ste. 802
Boston, MA 02110                            Boston, MA 02110                                Philadelphia, PA 19102


Meeler, Edward Hobson                       Mehrl, Stefan, Jr.                              Milhiser, Myron O. and Crovo, Betty
David J Butler, Esq.                        Justine Delaney, Esq.                           Ethan Early, Esq.
Rogers Patrick Westbrook & Brickman         Weitz & Luxenberg                               Early, Lucarelli, Sweeney & Meisenko
P.O. Box 3088                               700 Broadway                                    360 Lexington Ave, 20th Flr.
Aiken, SC 29804                             New York, NY 10003                              New York, NY 10017


Miller, Dana                                Mini, Catherine, A., Exec. of the Est. of       Motta, Joseph
Michael C. Shepard, Esq.                    Mini, Joseph                                    Michael C. Shepard, Esq.
Shepard O'Donnell                           Cary Sandler, Esq.                              Shepard O'Donnell
160 Federal St 13th Flr.                    Brookman, Rosenberg, Brown & Sandler            160 Federal St 13th Flr.
Boston, MA 02110                            30 S. 15th Street, Ste. 802                     Boston, MA 02110
                                            Philadelphia, PA 19102

Mullally, Stephen                           Murrin, Edward                                  Neal, John
Michael C. Shepard, Esq.                    Michael C. Shepard, Esq.                        Michael C. Shepard, Esq.
Shepard O'Donnell                           Shepard O'Donnell                               Shepard O'Donnell
160 Federal St 13th Flr.                    160 Federal St 13th Flr.,                       160 Federal St 13th Flr.
Boston, MA 02110                            Boston, MA 02110                                Boston, MA 02110


Newtown, Milton                             Nickerson, Paul W.                              Nybeck, Richard
Cary Sandler, Esq.                          Ethan Early, Esq.                               Robert Paul, Esq.
Brookman, Rosenberg, Brown & Sandler        Early, Lucarelli, Sweeney & Meisenko            Paul, Reich & Myers, P.C.
30 S. 15th Street, Ste. 802                 360 Lexington Ave, 20th Flr.                    1608 Walnut Street, Ste. 500
Philadelphia, PA 19102                      New York, NY 10017                              Philadelphia, PA 19103-5446
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                                                    PERSONAL INJURY CLAIMANTS
Oberly, James                                       Oponik, John                                 Orne, Ralph E.
Justine Delaney, Esq.                               Cary Sandler, Esq.                           Courtney Gregory, Esq.
Weitz & Luxenberg                                   Brookman, Rosenberg, Brown & Sandler         The Gori Law Firm
700 Broadway                                        30 S. 15th Street, Ste. 802                  156 N. Main St.
New York, NY 10003                                  Philadelphia, PA 19102                       Edwardsville, IL 62025


Overton, Robert                                     Paquette, Alvin                              Parks, Neal
Michael C. Shepard, Esq.                            Michael C. Shepard, Esq.                     Michael C. Shepard, Esq.
Shepard O'Donnell                                   Shepard O'Donnell                            Shepard O'Donnell
160 Federal St 13th Flr.                            160 Federal St 13th Flr.                     160 Federal St 13th Flr.
Boston, MA 02110                                    Boston, MA 02110                             Boston, MA 02110


Patton, Richard, F., Exec. of the Est. of Patton,   Peabody, Carrie, Pers. Rep. of the Est. of   Perkins, John
David                                               Brewer, Gary                                 Cary Sandler, Esq.
Cary Sandler, Esq.                                  Ethan Early, Esq.                            Brookman, Rosenberg, Brown & Sandler
Brookman, Rosenberg, Brown & Sandler                Early, Lucarelli, Sweeney & Meisenko         30 S. 15th Street, Ste. 802
30 S. 15th Street, Ste. 802                         360 Lexington Ave, 20th Flr.                 Philadelphia, PA 19102
Philadelphia, PA 19102                              New York, NY 10017

Perkins, Tristan Indep. Adm'x of                    Perry, Richard                               Pierce, Ronald L.
Succ'sn of the Decd. Perkins, Geraldine R.          Michael C. Shepard, Esq.                     Courtney Gregory, Esq.
Colin Mieling Esq.                                  Shepard O'Donnell                            The Gori Law Firm
Schroeter Goldman & Bender                          160 Federal St 13th Flr.                     156 N. Main St.
401 Union Street, Ste. 3400                         Boston, MA 02110                             Edwardsville, IL 62025
Seattle, WA 98101

Pollei, Harley J., "Jack"                           Ponte, Francis                               Poole Jr., James C.
Courtney Gregory, Esq.                              Cary Sandler, Esq.                           Courtney Gregory, Esq.
The Gori Law Firm                                   Brookman, Rosenberg, Brown & Sandler         The Gori Law Firm
156 N. Main St.                                     30 S. 15th Street, Ste. 802                  156 N. Main St.
Edwardsville, IL 62025                              Philadelphia, PA 19102                       Edwardsville, IL 62025


Porter, Stevan J., Exec. of the Est. of Porter,     Pressley, Odessa, Admin. of the Est. of      Preston, Marian, Admin. of the Est. of
Helen                                               Pressley, James                              Swartchick, Stephen
Cary Sandler, Esq.                                  Cary Sandler, Esq.                           Cary Sandler, Esq.
Brookman, Rosenberg, Brown & Sandler                Brookman, Rosenberg, Brown & Sandler         Brookman, Rosenberg, Brown & Sandler
30 S. 15th Street, Ste. 802                         30 S. 15th Street, Ste. 802                  30 S. 15th Street, Ste. 802
Philadelphia, PA 19102                              Philadelphia, PA 19102                       Philadelphia, PA 19102

Price, Richard                                      Pritchette, Patricia, Exec. of the Est. of   Quintal, Jeanne
Michael C. Shepard, Esq.                            Hayes, Ronald                                Michael C. Shepard, Esq.
Shepard O'Donnell                                   Cary Sandler, Esq.                           Shepard O'Donnell
160 Federal St 13th Flr.                            Brookman, Rosenberg, Brown & Sandler         160 Federal St 13th Flr.
Boston, MA 02110                                    30 S. 15th Street, Ste. 802                  Boston, MA 02110
                                                    Philadelphia, PA 19102

Raffi, Enos                                         Ramsey, Kenneth                              Rhodes, Judy "Diane"
Courtney Gregory, Esq.                              Courtney Gregory, Esq.                       Courtney Gregory, Esq.
The Gori Law Firm                                   The Gori Law Firm                            The Gori Law Firm
156 N. Main St.                                     156 N. Main St.                              156 N. Main St.
Edwardsville, IL 62025                              Edwardsville, IL 62025                       Edwardsville, IL 62025


Rogers, William, III                                Rosenberg, Wilbert                           Rosenman, Stephen
Robert Paul, Esq.                                   Michael C. Shepard, Esq.                     Michael C. Shepard, Esq.
Paul, Reich & Myers, P.C.                           Shepard O'Donnell                            Shepard O'Donnell
1608 Walnut Street, Ste. 500                        160 Federal St 13th Flr.                     160 Federal St 13th Flr.
Philadelphia, PA 19103-5446                         Boston, MA 02110                             Boston, MA 02110


Rotondi, Paul                                       Roy, Donald                                  Rumble, Richard
Cary Sandler, Esq.                                  Michael C. Shepard, Esq.                     Michael C. Shepard, Esq.
Brookman, Rosenberg, Brown & Sandler                Shepard O'Donnell                            Shepard O'Donnell
30 S. 15th Street, Ste. 802                         160 Federal St 13th Flr.                     160 Federal St 13th Flr.
Philadelphia, PA 19102                              Boston, MA 02110                             Boston, MA 02110
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                                                 PERSONAL INJURY CLAIMANTS
Rush, James                                      Russell, Harry A.                           Ruth, William
Justine Delaney, Esq.                            Courtney Gregory, Esq.                      Michael C. Shepard, Esq.
Weitz & Luxenberg                                The Gori Law Firm                           Shepard O'Donnell
700 Broadway                                     156 N. Main St.                             160 Federal St 13th Flr.
New York, NY 10003                               Edwardsville, IL 62025                      Boston, MA 02110


Sadowski, Walter                                 Schmidt, Paul E.                            Schneider, Richard A.
Michael C. Shepard, Esq.                         Courtney Gregory, Esq.                      Courtney Gregory, Esq.
Shepard O'Donnell                                The Gori Law Firm                           The Gori Law Firm
160 Federal St 13th Flr.                         156 N. Main St.                             156 N. Main St.
Boston, MA 02110                                 Edwardsville, IL 62025                      Edwardsville, IL 62025


Schuring, James M.                               Scolamiero, Paul                            Sears, Gerald
Courtney Gregory, Esq.                           Michael C. Shepard, Esq.                    Justine Delaney, Esq.
The Gori Law Firm                                Shepard O'Donnell                           Weitz & Luxenberg
156 N. Main St.                                  160 Federal St 13th Flr.                    700 Broadway
Edwardsville, IL 62025                           Boston, MA 02110                            New York, NY 10003


Sevilla, Dorothy A.                              Share, Valentine                            Singiser, William
Courtney Gregory, Esq.                           Courtney Gregory, Esq.                      Cary Sandler, Esq.
The Gori Law Firm                                The Gori Law Firm                           Brookman, Rosenberg, Brown & Sandler
156 N. Main St.                                  156 N. Main St.                             30 S. 15th Street, Ste. 802
Edwardsville, IL 62025                           Edwardsville, IL 62025                      Philadelphia, PA 19102


Sink, Dennis                                     Skinner, Wesley R.                          Smith, Ralph
Cary Sandler, Esq.                               Courtney Gregory, Esq.                      Courtney Gregory, Esq.
Brookman, Rosenberg, Brown & Sandler             The Gori Law Firm                           The Gori Law Firm
30 S. 15th Street, Ste. 802                      156 N. Main St.                             156 N. Main St.
Philadelphia, PA 19102                           Edwardsville, IL 62025                      Edwardsville, IL 62025


Snow, Kathy, Admin. of the Est. of Snow,         Sokso, Carol, Admin. of the Sokso, Donald   Somma, Patricia, Exec. of the Somma, Frank
Robert                                           Cary Sandler, Esq.                          Cary Sandler, Esq.
Cary Sandler, Esq.                               Brookman, Rosenberg, Brown & Sandler        Brookman, Rosenberg, Brown & Sandler
Brookman, Rosenberg, Brown & Sandler             30 S. 15th Street, Ste. 802                 30 S. 15th Street, Ste. 802
30 S. 15th Street, Ste. 802                      Philadelphia, PA 19102                      Philadelphia, PA 19102
Philadelphia, PA 19102

Sommers, Patricia, Admin. of the Sommers,        Stablein, Otto                              Stewart, Richard J.
William                                          Cary Sandler, Esq.                          David J Butler, Esq.
Cary Sandler, Esq.                               Brookman, Rosenberg, Brown & Sandler        Rogers Patrick Westbrook & Brickman
Brookman, Rosenberg, Brown & Sandler             30 S. 15th Street, Ste. 802                 P.O. Box 3088
30 S. 15th Street, Ste. 802                      Philadelphia, PA 19102                      Aiken, SC 29804
Philadelphia, PA 19102

Stratton, Craig A.                               Sullivan, John L.                           Swahl, Emily Vera Ex'x of the
Justine Delaney, Esq.                            Robert Paul, Esq.                           Est. of Swahl, William J.
Weitz & Luxenberg                                Paul, Reich & Myers, P.C.                   Benjamin P. Shein, Esq.
700 Broadway                                     1608 Walnut Street, Ste. 500                Shein Law Center
New York, NY 10003                               Philadelphia, PA 19103-5446                 121 S. Broad St., 21st Flr.
                                                                                             Philadelphia, PA 19107

Taranto, Roger N.                                Theroux, Cecile                             Theroux, Cecile
Ethan Early, Esq.                                Michael C. Shepard, Esq.                    Michael C. Shepard, Esq.
Early, Lucarelli, Sweeney & Meisenko             Shepard O'Donnell                           Shepard O'Donnell
360 Lexington Ave, 20th Flr.                     160 Federal St 13th Flr.                    160 Federal St 13th Flr.
New York, NY 10017                               Boston, MA 02110                            Boston, MA 02110


Theroux, Cecile                                  Thompson, George                            Tolbert, Albert
Michael C. Shepard, Esq.                         Cary Sandler, Esq.                          Courtney Gregory, Esq.
Shepard O'Donnell                                Brookman, Rosenberg, Brown & Sandler        The Gori Law Firm
160 Federal St 13th Flr.                         30 S. 15th Street, Ste. 802                 156 N. Main St.
Boston, MA 02110                                 Philadelphia, PA 19102                      Edwardsville, IL 62025
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                                                    PERSONAL INJURY CLAIMANTS
Travers, Edward F.                                  Turner, Gary M.                                 Tursellino, Dolores
Robert Paul, Esq.                                   Courtney Gregory, Esq.                          Justine Delaney, Esq.
Paul, Reich & Myers, P.C.                           The Gori Law Firm                               Weitz & Luxenberg
1608 Walnut Street, Ste. 500                        156 N. Main St.                                 700 Broadway
Philadelphia, PA 19103-5446                         Edwardsville, IL 62025                          New York, NY 10003


Varallo, Joseph                                     Varnadore, Jerald E.                            Veiga, Mario
Cary Sandler, Esq.                                  Courtney Gregory, Esq.                          Michael C. Shepard, Esq.
Brookman, Rosenberg, Brown & Sandler                The Gori Law Firm                               Shepard O'Donnell
30 S. 15th Street, Ste. 802                         156 N. Main St.                                 160 Federal St 13th Flr.
Philadelphia, PA 19102                              Edwardsville, IL 62025                          Boston, MA 02110


Wagner, Richard (Est.)                              Walcott, Gregory                                Walczyk, Elaine, Pers. Rep. of Est. of Walczyk,
Michael C. Shepard, Esq.                            Michael C. Shepard, Esq.                        Richard
Shepard O'Donnell                                   Shepard O'Donnell                               Eric B. Abramson, Esq.
160 Federal St 13th Flr.                            160 Federal St 13th Flr.                        Serling & Abramson, P.C.
Boston, MA 02110                                    Boston, MA 02110                                280 North Old Woodward Ave, Ste 406
                                                                                                    Birmingham, MI 48009

Wasson, Joanne, Admin. of the Est. of               Williams, Richard                               Winograd, Daniel H., as Pers. Rep. of Est. of
Wasson, Joseph                                      Michael C. Shepard, Esq.                        Flashner, George & Marjorie
Cary Sandler, Esq.                                  Shepard O'Donnell                               Ethan Early, Esq.
Brookman, Rosenberg, Brown & Sandler                160 Federal St 13th Flr.                        Early, Lucarelli, Sweeney & Meisenko
30 S. 15th Street, Ste. 802                         Boston, MA 02110                                360 Lexington Ave, 20th Flr.
Philadelphia, PA 19102                                                                              New York, NY 10017

Wood, Herbert                                       Wright, Sharon, Admin. Of the Est. of Wright,   Yamada, James
Courtney Gregory, Esq.                              Gerald                                          Justine Delaney, Esq.
The Gori Law Firm                                   Cary Sandler, Esq.                              Weitz & Luxenberg
156 N. Main St.                                     Brookman, Rosenberg, Brown & Sandler            700 Broadway
Edwardsville, IL 62025                              30 S. 15th Street, Ste. 802                     New York, NY 10003
                                                    Philadelphia, PA 19102

Ziettlow, Sharon, Ind. and on behalf of all heirs   Shirley, Howard
of Ziettlow, James A.                               735 Bramblewood Heights Rd.
Ethan Early, Esq.                                   Marietta, OH 45750
Early, Lucarelli, Sweeney & Meisenko
360 Lexington Ave, 20th Flr.
New York, NY 10017
           Case 21-50644            Doc 260 Filed 09/13/23 Entered 09/13/23 14:57:56                  Page 11 of 12
                                         OTHER CREDITORS AND PARTIES-IN-INTEREST
Adler Cohen, Harvey, Wakeman &
                                             Bice Cole Law Firm, P.L.                   Blue Williams, LLP
Guekguezian, LLPA. Bernard Guekguezian,
                                             Neil A. Covone, Esq.                       Paul Palermo, Esq.
Esq.
                                             99 Ponce de Leon Blvd., Ste. 710           3421 North Causeway Blvd., Ste. 900
75 Federal Street, 10th Floor
                                             Coral Gables, FL 33134                     Metairie, LA 70002
Boston, MA 02110


                                                                                        Century Indemnity Company and PEIC**
Bonezzi, Switzer, Polito & Hupp Co., LPA     Brandywine Group of Insurance              Irve J. Goldman, Esq. & Kristin B. Mayhew, Esq.
James Kline, Esq.                            Sandra Hourahan                            PULLMAN & COMLEY
1300 East 9th Street, Ste. 1950              510 Walnut Street, 11th Floor              850 Main Street, 8th Floor
Cleveland, OH 44114                          Philadelphia, PA 19106                     P.O. Box 7006
                                                                                        Bridgeport, Connecticut 06601-7006


Century Indemnity Company and PEIC**         Century Indemnity Company and PEIC
                                                                                        Cook Law Firm PLLC
Mark D. Plevin                               Rachel A. Jankowski**
                                                                                        Campbell William Rankin, Esq.
CROWELL & MORING LLP                         CROWELL & MORING LLP
                                                                                        115 Broadway, Ste. 1602
Three Embarcadero Center, 26th Floor         1001 Pennsylvania Avenue, N.W.
                                                                                        New York, New York 10006
San Francisco, California 94111              Washington, DC 20004


                                                                                        Douglas Denham Buccina Kennedy-Jensen
John Crimando, Esq.                          Deutsch Kerrigan, LLP                      & Bell
Crimando Law                                 Jennifer E. Adams, Esq.                    Christine Kennedy-Jensen, Esq.
55570 Broughton Road                         755 Magazine Street                        103 Exchange Street
Macomb, MI 48042                             New Orleans, LA. 70130                     PO Box 7108
                                                                                        Portland, ME 04112-7108

                                             Franden, Farris, Quillin, Goodnight &      Gardner Denver, Inc.
Foley Mansfield                              Roberts                                    Henry P. Baer, Jr., Esq.**
Joanna Salmen, Esq                           Jason Goodnight, Esq.                      Finn Dixon & Herling LLP
250 S Marquette Avenue, Ste. 1200            900 Williams Center Tower II               Six Landmark Square
Minneapolis, MN 55401                        2 West 2nd Street                          Stamford, CT 06901
                                             Tulsa, OK 74103

                                             Hermes, Netburn, O’Connor & Spearing,      Marks, O’Neill, O’Brien & Courtney, P.C.
Hawkins, Parnell & Young, LLP
                                             P.C.                                       Megan Mantzavinos, Esq.
4000 SunTrust Plaza
                                             Kevin J. O'Connor                          Paul Smyth, Esq.
303 Peachtree Street, N.E.
                                             265 Franklin Street, Ste. 701              600 Baltimore Avenue, Ste. 305
Atlanta, GA 30308-3243
                                             Boston, MA 02110                           Townson, MD 21204


Maron Marvel Bradley & Anderson LLC          McGivney, Kluger, Clark & Intoccia, P.C.   Moran Reeves & Conn P.C.
Todd Ogden, Esq.                             Jonathan Ciottone, Esq.                    Reeves, Eric Esq.
2001 Bryan Street, Ste. 1300                 243 Sparta Avenue                          1211 East Cary Street
Dallas, TX 75201-3008                        Sparta, NJ 07871                           Richmond, VA 23219


                                                                                        Post & Schell, P.C.
Nelson Mullins Riley & Scarborough, LLP      O’Melveny & Myers LLP
                                                                                        Edward A. Smallwood, Esq.
B. Keith Poston, Esq.                        Tancred V. Schiavoni, Esq.
                                                                                        One Oxford Centre
P.O. Box 11070                               7 Times Square
                                                                                        301 Grant Street, Ste. 3010
Columbia, SC 29211                           New York, NY 10036
                                                                                        Pittsburgh, PA 15219


Reger Rizzo & Darnall LLP
                                             Resolute Management Inc.                   Ruggeri, Parks Weinberg LLP
Paul D. Sunshine, Esq.
                                             Darilyn Michaud, Account Manager           James P. Ruggeri, Esq.
1521 Concord Pike, Ste. 305
                                             125 High Street, 10th Floor                1875 K Street NW, Ste. 600
Brandywine Plaza West
                                             Boston, MA 02110                           Washington, DC 20006-1251
Wilmington, DE 19803


                                             Stoll Keenon Ogden PLLC                    Swartz Campbell, LLC
Steven K. Hisaka, Esq.                       Susan Mehringer, Esq.                      Kevin Ward, Esq.
733 Bishop Street, Ste. 1520                 The Emelie Building                        Koppers Building
Honolulu, HI 9681                            334 North Senate Avenue                    436 Seventh Avenue, 7th and 8th Flrs.
                                             Indianapolis, IN 46204                     Pittsburgh, PA 15219
           Case 21-50644         Doc 260 Filed 09/13/23 Entered 09/13/23 14:57:56               Page 12 of 12
                                      OTHER CREDITORS AND PARTIES-IN-INTEREST

The Hartford                              Williams Kastner & Gibbs PLLC            Wilson Elser Moskowitz Edelman & Dicker
Ollie Harton, Esq.                        Shawn Rediger, Esq.                      Gardiner McKleroy, Esq.
One Hartford Plaza                        601 Union Street, Ste. 4100              655 Montgomery Street, Ste. 900
Hartford, CT 06155                        Seattle, WA 98101-2380                   San Francisco, CA 94111


Wilson Elser Moskowitz Edelman & Dicker   Winget, Spadafora & Scwartzberg, LLP**   Holley L. Claiborn on behalf of U.S. Trustee
Bill Hake, Esq                            Meghan K. Daley, Esq.                    Office of The United States Trustee
Nick Martin, Esq.                         Brian Palmieri, Esq.                     The Giaimo Federal Building
7 Giralda Farms                           201 Broad Street, 10th Floor             150 Court Street, Room 302
Madison, NJ 07940                         Stamford, CT 06901                       New Haven, CT 06510




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